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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 23-CV-80282-ROSENBERG


      ROBERT SCOT BUILDING VENTURE LLC;
      and RSBV Pathway LLC,

                                         Plaintiffs,

                                v.

      CREATIVE WEALTH MEDIA FINANCE CORP;
      and JASON CLOTH,

                                         Defendants.



            PLAINTIFF’S SECOND CORRECTED 1 NOTICE OF INTENT TO SEEK
                   ADJUDICATION OF DEPOSITION DESIGNATIONS

           Plaintiff, by and through undersigned counsel, seeks pretrial adjudication of the

  admissibility of the following excerpts from the deposition of Aaron Gilbert taken on December

  5, 2023, which is attached as Exhibit 1. Plaintiff’s counsel and an actor, Ben Sandomir, will read

  the highlighted excerpts of the transcript into the record at trial.

           Mr. Gilbert lives in Canada; accordingly, he is unavailable to testify at trial, pursuant to

  Federal Rule of Civil Procedure 32(a)(4)(B), as he is located more than 100 miles from the

  courthouse.

           Plaintiff served these designations upon Defendant, Jason Cloth, on April 11, 2024, in

  accordance with the Court’s Order Setting and Resetting Certain Deadlines (D.E. 79). Mr. Cloth




  1
    This Second Corrected Notice is being filed to include lines that were inadvertently omitted from the prior notices
  of intent with respect to this deposition. These lines were, however, included in Plaintiff’s deposition designations,
  filed and served upon Defendant Jason Cloth on April 11, 2024.
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  has not objected to the admission of any of these designations or counter-designated any additional

  testimony he seeks to present at trial.

         Designated Testimony:

         1. Page 4, Lines 17 through 20;

         2. Page 10, Lines 5 through 13;

         3. Page 10, Line 22 through Page 11, Line 9;

         4. Page 12, Lines 13 through 18;

         5. Page 14, Lines 4 through 22;

         6. Page 20, Lines 2 through 9;

         7. Page 21, Lines 1 through 23;

         8. Page 24, Line 15 through Page 25, Line 8;

         9. Page 27, Line 2 through Page 28, Line 4;

         10. Page 29, Lines 7 through 20;

         11. Page 32, Lines 13 through 16;

         12. Page 32, Line 19 – Page 33, Line 10;

         13. Page 34, Line 5 – Page 35, Line 5;

         14. Page 36, Line 9 – Page 38, Line 3;

         15. Page 39, Lines e3 through 13;

         16. Page 41, Line 16 – Page 42, Line 2;

         17. Page 44, Lines 2 through 9;

         18. Page 58, Line 22 – Page 59, Line 8;

         19. Page 59, Lines 14 through 16;

         20. Page 72, Lines 12 through 21;
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        21. Page 90, Lines 1 through 9;

        22. Page 93, Lines 20 through 22;

        23. Page 95, Lines 11 through 15;

        24. Page 137, line 18 – Page 138, Line 19;

        25. Page 140, Line 13 – Page 141, Line 6

        26. Page 143, Line 21 – Page 144, Line 4.

  Dated: May 7, 2024                         Respectfully submitted,


                                                     /s/ Shalia M. Sakona
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                                                     Venture LLC and RSBV Pathway LLC
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 7, 2024, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which will send a Notice of Electronic Filing to all

  counsel of record that are registered with the Court’s CM/ECF system. I further certify that

  concurrently with this filing, I served a copy of this request via Federal Express and electronic

  mail upon Jason Cloth.


                                                      /s/ Shalia Sakona
